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                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION

      In re:                                           §
                                                       §         Chapter 11
      KrisJenn Ranch, LLC,                             §
                                                       §
                Debtor                                 §         Case No. 20-50805
                                                       §
                                                       §


      KrisJenn Ranch, LLC, KrisJenn Ranch,             §
      LLC–Series Uvalde Ranch, and KrisJenn            §
      Ranch, LLC–Series Pipeline ROW, as               §
      successors in interest to Black Duck             §
      Properties, LLC,                                 §
                                                       §         Adversary No. 20-05027
                Plaintiffs,                            §
                                                       §
      v.                                               §
                                                       §
      DMA Properties, Inc. and Longbranch              §
      Energy, LP,                                      §
                                                       §
                Defendants.                            §

                               ANSWER TO ADVERSARY COMPLAINT

               DMA Properties, Inc. (DMA) and Longbranch Energy, LP (Longbranch) file a joint
     answer as follows.

                                                 SUMMARY
               1.        This paragraph summarizes other factual allegations set forth individually in

     subsequent paragraphs of Plaintiffs’ adversary complaint. DMA and Longbranch address

     those factual allegations below. To the extent this paragraph sets forth any additional legal

     or factual allegations not contained elsewhere in Plaintiffs’ complaint, denied.

                                      JURISDICTION AND VENUE
               2.        Admitted.

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               3.    Admitted that this Court has jurisdiction over the claim(s) asserted in

     Plaintiffs’ adversary complaint. All other allegations and legal conclusions set forth in this

     paragraph are denied.

               4.    Admitted that this proceeding is a core proceeding. All other allegations and

     legal conclusions set forth in this paragraph are denied.

               5.    Admitted that Plaintiffs’ claims concern the property of KrisJenn Ranch,

     LLC–Series Pipeline ROW (“KrisJenn–Pipeline ROW”). The remainder of this paragraph

     is denied.

               6.    The cited case law speaks for itself. To the extent this paragraph sets forth

     any further legal conclusions or factual allegations, denied.

               7.    DMA and Longbranch lack knowledge or information sufficient to form a

     belief as to the allegations of this paragraph.

                                                PARTIES
               8.    Admitted that KrisJenn Ranch, LLC (“KrisJenn”) is a Texas limited liability

     company doing business in Texas. Admitted that KrisJenn has two series that are named in

     this action. Admitted that KrisJenn and its series filed this bankruptcy as a single Debtor.

     DMA and Longbranch lack knowledge or information sufficient to form a belief as to the

     remainder of the allegations in this paragraph.

               9.    Admitted that DMA is a South Carolina corporation. DMA may be served

     through its counsel of record in this action. The rest of the allegations in this paragraph are

     denied.

               10.   Admitted that Longbranch’s principal place of business is 706 Southview

     Circle, Center, Texas 75935 and that Darin Borders is the President of Drain Borders, Inc.,

     the general partner of Longbranch. Longbranch may be served through its counsel of record

     in this action. The rest of the allegations in this paragraph are denied.




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                                           BACKGROUND
               11.   DMA and Longbranch lack sufficient knowledge or information sufficient to

     form a belief as to the allegations in this paragraph.

               12.   Admitted that KrisJenn owned 50% of Black Duck Properties, LLC (“Black

     Duck”). The rest of the allegations in this paragraph are denied.

               13.   Denied.

               14.   Admitted that on or about February 19, 2016, Longbranch entered an

     agreement securing a right to purchase the pipeline right-of-way. To the extent this

     paragraph sets forward any other factual allegations, denied.

               15.   Agreed that Longbranch assigned its right to purchase the pipeline right-of-

     way to Black Duck. The rest of the allegations in this paragraph are denied.

               16.   Admitted that Black Duck closed on the pipeline right-of-way on or about

     August 11, 2017. To the extent this paragraph sets forward any additional factual allegations,

     denied.

               17.   Admitted.

               18.   Admitted that Black Duck conveyed to DMA a net-profits interest in the

     pipeline right-of-way on the same terms extended to Longbranch. Admitted that this

     paragraph appears to accurately quote the language of a formal document dated February 7,

     2018, which memorialized the terms of the assignment. To the extent this paragraph sets

     forward any other factual allegations, denied.

               19.   Admitted that Black Duck sold the pipeline right-of-way to TCRG East Texas

     Pipeline 1, LLC in 2018. Admitted that Black Duck sold the right-of-way for $2.5 million and

     a 16% carried interest in a future TCRG waterline. DMA and Longbranch lack knowledge or

     information sufficient to form a belief as to the “aggregate, projected profit.” To the extent

     this paragraph sets forward any other factual allegations, denied.

               20.   Denied.

               21.   DMA and Longbranch lack knowledge or information sufficient to form a

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     belief as to the factual allegations in this paragraph.

             22.     Admitted that Longbranch and DMA sought to protect their interests in the

     pipeline right-of-way. The rest of the factual allegations in this paragraph are denied.

             23.     Admitted that KrisJenn–Pipeline ROW purchased the pipeline right-of-way

     from TCRG. DMA and Longbranch are currently assessing that purchase and the related

     financing and lack knowledge or information to form a belief as to the specific terms of the

     purchase and/or financing at this time.

             24.     Denied.

             25.     Admitted that there were three lawsuits pending in state court between the

     parties. The Guadalupe County Case and the Longbranch Case have been consolidated in

     Shelby County. DMA and Longbranch repeatedly sought to proceed with discovery and

     depositions in that case. Those efforts were obstructed by Plaintiffs. Plaintiffs previously

     sought summary judgment in the Guadalupe County action and asked the state court to

     construe the parties’ agreements in Wright’s favor as a matter of law—just as KrisJenn is

     asking the Court to do here. After transfer, the Shelby County Court denied Plaintiffs’

     motion for summary judgment.

             26.     Admitted that the three debtors filed for bankruptcy and now seek a

     declaratory judgment. The rest of the allegations in this paragraph are denied.

                                   DECLARATORY JUDGMENT
             27.     This paragraph does not require a response.

             28.     This paragraph does not require a response.

             29.     Admitted that Plaintiffs seek declaratory relief. DMA and Longbranch deny

     Plaintiffs’ characterization of DMA’s and Longbranch’s interests in the pipeline right-of-

     way.

             30.     Denied as to Plaintiffs’ characterization of the parties’ agreements. To the

     extent this paragraph sets forward any other factual allegations, denied.


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               31.    Denied as to Plaintiff’s characterizations of Defendants’ interpretation of the

     parties’ agreements. To the extent this paragraph sets forward any other factual allegations,

     denied.

               32.    Denied.

               33.    Denied.

               34.    Denied.

               35.    Denied

               36.    Admitted that Plaintiffs incurred costs and attorneys’ fees in seeking

     declaratory judgment. Denied that those fees were reasonable or necessary.

                                          ATTORNEYS’ FEES
               37.    Denied.
                                      AFFIRMATIVE DEFENSES

               38.    For each of these affirmative defenses, DMA and Longbranch expressly

     incorporate the factual allegations set forth in DMA’s counterclaims and third-party claims

     pleading filed contemporaneously with this answer.

               A.     Common-Law Fraud

               39.    Plaintiffs concealed—and failed to disclose—critical facts from DMA,

     Longbranch. and their principals, Daniel Moore and Darin Borders. Plaintiffs did not

     disclose their elaborate scheme, facilitated through their transactional lawyers, to:

              tell Moore and Borders that Wright had plenty of money, the financial capacity, and
               the intention to carry the cost of the right-of-way acquisition until the parties found
               a suitable partner to build a pipeline, not merely attempt to engage in a “flip” of the
               option to buy the right-of-way;

              create a deed of trust between Black Duck and the KrisJenn entities that imposed a
               multi-million-dollar lien on the right-of-way, without telling Moore or Border and
               without obtaining Moore’s required approval;

              negotiate a secret deal with Terrill;


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           force Moore out of Black Duck with no intent to honor Wright’s assurances that
            DMA’s 20% net-profits interests would run with the right-of-way;

           backdate the deed of trust between Black Duck and KrisJenn or, alternatively, not
            notarize and record it until after Wright had negotiated a deal with Terrill and had
            started to push Moore out of Black Duck;

           engage in an out-of-the-blue email exchange with Moore about his entitlements under
            a hypothetical transaction different from what Wright had secretly worked out with
            Terrill, attempting to get Moore to agree that he would be owed nothing under his
            scheme to “kill the 20%” that Borders and Moore owned;

           conceal facts about the deal with TCRG East Texas Pipeline Company 1;

           then attempt to “kill the 20% each of you own” by claiming KrisJenn foreclosed on
            the undisclosed and wrongful deed of trust from Black Duck—while at the same time
            representing in a June 2019 “Release of Lien” that the loan on the right-of-way had
            been paid and the lien released; and

           conceal facts about the deal with McLeod where Wright and KrisJenn Ranch, LLC
            covertly borrowed $5.9 million from McLeod Oil, LLC and extended McLeod an
            option to purchase the right-of-way for $6,000,000.


            40.     Those first listed representations made by Wright—about his financial

     capacity and intention to buy the right-of-way and carry its costs until the group found a

     suitable partner to build a pipeline—were false.

            41.     Wright did not have, and knew he did not have, adequate financial assets or

     the intention to carry the cost of the right-of-way acquisition until a suitable investment

     partner to build the pipeline was secured.

            42.     Wright’s lack of resources and lack of intention (at the time the

     representations were made) are demonstrated by Wright’s immediate insistence, as soon as

     Longbranch transferred the purchase option to Black Duck, on trying to flip the purchase

     option rather than close on the right-of-way and then market the deal as Moore, Borders, and

     Wright had discussed.

            43.     Wright’s misrepresentations were material and were central Moore’s

     decision to resign from Black Duck and accept, among other things, a 20% net-profits interest

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     in the right-of-way that attached and ran with the land via DMA.

             44.     Wright’s misrepresentations were material and were central Longbranch’s

     decision to assign the option to purchase the right-of-way to Black Duck and accept a 20%

     net-profits interest in the right-of-way that attached and ran with the land.

             45.     Moore, on behalf of DMA, and Borders, on behalf of Longbranch, relied on

     Wright’s false representations to their detriment. DMA was fraudulently induced to accept

     a 20% net-profits interest in exchange for Moore’s resignation from Black Duck and

     relinquishment of his 50% ownership interest. Longbranch was fraudulently induced to

     accept a 20% net-profits interest in exchange for assignment of the option to purchase the

     right-of-way. Wright and his entities had no intent to honor either promise made to DMA or

     Longbranch.

             B.      Fraud by Nondisclosure

             46.     DMA incorporates by reference all of the previous paragraphs of the

     Affirmative Defenses section of this pleading.

             47.     Wright did not disclose to Moore the deed of trust between Black Duck and

     the KrisJenn Ranch entities.

             48.     The Black Duck company agreement required such disclosure to Moore, who

     was at the time a manager and 50% owner of Black Duck. And for the interested-party

     transaction between Black Duck and KrisJenn to be valid, Moore would have needed to

     approve it.

             49.     Wright also owed fiduciary duties to Moore and Black Duck that required him

     to disclose the deed of trust. These fiduciary obligations include the duty of candor, the duty

     to refrain from self-dealing, the duty to act with integrity of the strictest kind, the duty of fair

     and honest dealing, and the duty of full disclosure.

             50.     Encumbering Black Duck’s principal asset with millions of dollars of debt—

     and giving the lien to Wright’s other companies—was material.


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             51.     Wright knew Moore was ignorant of the facts, and Moore did not have equal

     opportunity to discover what Wright had done. Indeed, the suspicious delay between the

     date of the deed of trust and its actual execution and recording, which occurred after Wright

     had negotiated the sale of Black Duck’s interests to Terrill and during Wright’s push to

     remove Moore from Black Duck, shows that Wright was actively concealing the deed’s

     existence from Moore.

             52.     Wright was deliberately silent on this issue despite the multiple company

     obligations and fiduciary duties requiring him to speak.

             53.     By failing to disclose the facts, Wright intended to induce Moore to resign

     from Black Duck and then use his control over Black Duck and KrisJenn to try to “kill”

     DMA’s 20% net-profits interest.

             54.     Moore would not have resigned from Black Duck if he had known about

     Wright’s undisclosed deed of trust and his plan to try to steal Moore’s interests.

             55.     Moore has been injured by having to spend significant time and money

     uncovering Plaintiffs’ deceit. Moore would not have resigned from Black Duck and accepted

     the 20% net-profits interest if he known about the undisclosed deed of trust or about Wright’s

     scheme to try to “kill” his interests.

             56.     The facts in counterclaims and third-party claims pleading filed

     contemporaneously with this answer also show that Plaintiffs’ entire plan to rob Moore of

     his interest in the right-of-way was premeditated or, at minimum, that Plaintiffs set up a self-

     dealing, fraudulent deed of trust so that they could attempt to “kill the 20% each of

     [Defendants] own.” Either way, Plaintiffs had a duty to disclose such a scheme to both

     Defendants.

             57.     Moore and DMA would not have done business with Wright on this deal if

     they had known that he had no intention to honor his promises (1) that the 20% net-profits

     interests would run with the land and (2) that he would bind Black Duck’s successors and

     assigns to that deal.
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              C.    Unclean Hands

              58.   DMA and Longbranch incorporate by reference all of the previous paragraphs

     of the Affirmative Defenses section of this pleading.

              59.   As explained above, Plaintiffs made numerous misrepresentations, engaged

     in wrongful insider dealing, and failed to disclose facts that they had duties to disclose.

              60.   DMA and Longbranch were injured by Plaintiffs’ unlawful and inequitable

     conduct.

              61.   The Court should thus refuse to grant Plaintiffs equitable relief, including the

     declarations sought in this action, based on the affirmative defense of unclean hands.

              D.    Equitable Estoppel

              62.   DMA and Longbranch incorporate by reference all of the previous paragraphs

     of the Affirmative Defenses section of this pleading.

              63.   Plaintiffs made multiple false representations—and concealed material

     facts—from DMA, Longbranch, and their principals.

              64.   Plaintiffs intended that their representations and concealments be acted on.

              65.   Plaintiffs knew or had means of knowing the real facts.

              66.   DMA and Longbranch neither knew nor had equal means of knowing the real

     facts.

              67.   DMA, Longbranch, and their principals substantially and reasonably relied

     on Plaintiffs’ misrepresentations—and on concealments that Plaintiffs had duties to

     disclose—to Defendants’ detriment.

              E.    Quasi-Estoppel

              68.   DMA and Longbranch incorporate by reference all of the previous paragraphs

     of the Affirmative Defenses section of this pleading.

              69.   Plaintiffs accepted benefits under multiple transactions, including but not

     limited to the following:


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                    Wright and Black Duck obtained the option to purchase the right-of-way
                     assigned to them and purchased the right-of-way;

                    Wright and Black Duck, without required disclosure or consent, gave
                     Wright’s KrisJenn Ranch entities a deed of trust in Black Duck’s right-of-way
                     interests; and

                    Wright and Black Duck accepted Moore’s resignation and relinquishment of
                     his 50% ownership interest in Black Duck without proper disclosure about the
                     August 14, 2017 deed of trust.


           70.       Plaintiffs repeatedly assured DMA and Longbranch that their interests would

    attach and run with the land and be binding on successors.

           71.       Plaintiffs now assert that DMA and Longbranch only ever had an interest in

    Black Duck’s net profits.

           72.       Plaintiffs’ present position is inconsistent with their earlier position when

    they acquiesced to or accepted the benefit of the transaction.

           73.       Further, Plaintiffs also assert that KrisJenn foreclosed on Black Duck’s

    interests in and profits from the right-of-way and that this wiped out DMA’s net-profits

    interests. This foreclosure argument is inconsistent not only with the DMA Agreement but

    also with the release of lien Plaintiffs filed in June 2019 in Rusk County that “acknowledge[d]

    its payment and release[d] the property from the lien.”

           74.       It would thus be unconscionable to allow Plaintiffs to maintain their present

    positions, which are to DMA and Longbranch’s disadvantage.
           F.        Ambiguity (Asserted in the Alternative)
           75.       DMA and Longbranch incorporate by reference all of the previous paragraphs

    of the Affirmative Defenses section of this pleading.

           76.       DMA and Longbranch have asserted a reasonable interpretation—indeed,

    the only reasonable interpretation DMA and Longbranch’s net-profits agreement. Based on

    the instrument’s plain language, DMA’s net-profits interests is a covenant that attaches and

    runs with the right-of-way and is binding on Black Duck’s successors and assigns.

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            77.     Plaintiffs ignore the language of the instrument, arguing instead that they

    confer only a personal obligation from Black Duck.

            78.     Thus, at worst for DMA and Longbranch, DMA and Longbranch’s

    reasonable interpretation of the instrument—whether considered alone or in conjunction

    with parole evidence—supports the affirmative defense of ambiguity, which is asserted here

    in the alternative.

                                             PRAYER
            DMA and Longbranch pray that the Court enter judgment in DMA and
    Longbranch’s favor, dismiss Plaintiffs’ claims with prejudice, and award DMA and
    Longbranch all other relief, both in law and equity, to which DMA and Longbranch are
    entitled.




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                                     CERTIFICATE OF SERVICE

             I hereby certify that a true and correct copy of the foregoing document was served on
    all counsel of record by way of e-service through the CM/ECF system by notice of electronic
    filing or via email on the 1st day of June 2020:

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